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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                  AUSTIN DIVISION

 LAURA WONDERCHECK,                              )
                                                 )
                   Plaintiff,                    )
                                                 )
                      v.                         )
                                                 )        Civil Action No. 1:19-cv-00640-LY
 MAXIM HEALTHCARE SERVICES,                      )
 INC.,                                           )
                                                 )
                  Defendant.                     )

  DEFENDANT MAXIM HEALTHCARE SERVICES, INC.’S OPPOSED MOTION IN
       LIMINE TO EXCLUDE EVIDENCE UNRELATED TO PLAINTIFF
       LAURA WONDERCHECK’S FRAUD REPORT OR TERMINATION

       Before the voir dire examination of the jury panel, Defendant Maxim Healthcare Services,

Inc. submits this motion in limine to exclude matters that are inadmissible, irrelevant, and unduly

prejudicial with respect to the material issues in this case. Maxim asks the Court to prohibit

Plaintiff Laura Wondercheck and her counsel and witnesses from referring, directly or indirectly,

in any manner, in the presence of the jury panel or the jury, to the matters stated below without

first asking—outside the presence of the jury panel or the jury—for a ruling from the Court

regarding the admissibility of such evidence.

       Maxim requests that this Court preclude Wondercheck from offering into evidence

documents or testimony regarding allegations of wrongdoing by Maxim unrelated to

Wondercheck’s employment by Maxim at the South Texas Family Residential Center in Dilley,

Texas (“ICE Dilley”). Specifically, but not exclusively, Maxim seeks to exclude the following

documents produced by Wondercheck in this case, along with testimony about such documents:

(1) a July 4, 2015 Los Angeles Times article about children at ICE Dilley being given adult doses

of the Hepatitis A vaccine; (2) the class action settlement agreement from Moodie v. Maxim

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Healthcare Services, Inc. 1 ; and (3) the Deferred Prosecution Agreement, Corporate Integrity

Agreement, and Press Release arising out of Maxim’s 2011 settlement with the United States

Department of Justice. Such evidence—all of which is entirely unrelated to Wondercheck’s own

work experiences and termination and the fraud she reported—is inadmissible, irrelevant, likely

to distract the jury, and prejudicial to Maxim. Accordingly, it should be excluded.

                                          ARGUMENT

       The purpose of a motion in limine is to prohibit opposing counsel “from mentioning the

existence of, alluding to, or offering evidence on matters so highly prejudicial to the moving party

that a timely motion to strike or an instruction by the court to the jury to disregard the offending

matter cannot overcome its prejudicial influence on the jurors’ minds.” O’Rear v. Fruehauf Corp.,

554 F.2d 1304, 1306 n.1 (5th Cir. 1977). “[D]istrict courts are afforded wide discretion in

determining the relevance and admissibility of evidence under [Federal Rules of Evidence] 401

and 402, and a district court’s ruling on admissibility under Rule 403’s balancing test will not be

overturned on appeal absent a clear abuse of discretion.” Babin v. Plaquemines Par., 421 F. Supp.

3d 391, 395 (E.D. La. 2019).

I.     The Los Angeles Times Article Must Be Excluded Because it Constitutes Hearsay and
       Is Inadmissible, Irrelevant, and Unduly Prejudicial.

       To the extent Wondercheck intends to introduce the Los Angeles Times article or testimony

about children at ICE Dilley being given adult doses of the Hepatitis A vaccine, the Court should

prevent such evidence from being shown to or discussed in the presence of the jury. As an initial

matter, the article is inadmissible because it is hearsay that does not fall within any hearsay

exception. See FED. R. EVID. 801, 802. News articles are “classic, inadmissible hearsay,” and the



       1
           Case No. 2:14-cv-03471-FMO-AS (C.D. Cal. Dec. 17, 2018).
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Los Angeles Times article is no exception. Roberts v. City of Shreveport, 397 F.3d 287, 295 (5th

Cir. 2005). Because the article does not fall under any hearsay exception, it is inadmissible.

        The article is also inadmissible because it is improper “prior acts” evidence. See FED. R.

EVID. 404(b). Under Rule 404(b)(1), “[e]vidence of a crime, wrong, or other act is not admissible

to prove a person’s character in order to show that on a particular occasion the person acted in

accordance with the character.” Three factors govern the admissibility of evidence of prior acts:

“(1) relevance to an issue other than character, (2) probative value outweighing the potential for

prejudice, and (3) proof that the offense was in fact committed.” Harrell v. DCS Equip. Leasing

Corp., 951 F.2d 1453, 1465 (5th Cir. 1992). Here, the Los Angeles Times article is irrelevant to

any issue other than character. As discussed in more detail below, the potential for prejudice

outweighs any probative value, as the article discusses a sensitive topic that is unrelated to

Wondercheck’s employment or the fraud she reported. And the article reflects no judgment or

finding that Maxim was liable for the incident; rather, it indicates that an investigation was ongoing

at the time the article was published. Therefore, it is inadmissible.

        Even if the Court finds that the article is otherwise admissible, it is excludable because it

is not relevant under Federal Rules of Evidence 401 and 402. Wondercheck’s sole claim is that

Maxim terminated her because she reported Nguyen’s fraud. To prevail, she must show that

Maxim would not have terminated her but for her report. The news article discusses an entirely

unrelated incident that occurred over a year prior to Wondercheck’s termination. The article does

not state whether any Maxim employees were found to be at fault or what disciplinary or other

remedial actions Maxim took as a result of this occurrence. This incident is not at issue in the

instant action; therefore, the article is irrelevant.




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       Regardless, any slight probative value of the news article is substantially outweighed by

the risk of unfair prejudice to Maxim, and such evidence would waste time, cause undue delay,

and confuse the jury. See FED. R. EVID. 403. The news article discusses an emotional and

politically-charged topic. It references not only the misadministration of children’s vaccines but

also calls to shut down facilities like ICE Dilley. The great risk of prejudice, confusing the issues,

and misleading the jury, combined with the complete lack of a nexus to Wondercheck’s claims in

this action, renders this article inadmissible under Rule 403.

       Accordingly, the Los Angeles Times article is inadmissible under Federal Rules of

Evidence 401, 402, 403, 404, 801, and 802 and should be excluded.

II.    The Moodie Settlement Is Inadmissible, Irrelevant, and Unduly Prejudicial, and Thus
       Should Be Excluded.

       Relatedly, lawsuits filed by individuals other than Wondercheck should be excluded

because they are inadmissible, irrelevant, and more prejudicial than probative. Wondercheck

produced a Class Action Settlement Agreement from Moodie v. Maxim Healthcare Services, Inc.,

a Central District of California lawsuit involving allegations that Maxim accessed employees’

consumer reports through the use of invalid authorization forms. Applying the three factors listed

above to the Moodie settlement agreement leads to the conclusion that it is inadmissible prior acts

evidence. It is irrelevant to any issue other than Maxim’s character. Its probative value is

outweighed by the potential for prejudice because the subject of the Moodie lawsuit—an alleged

violation of the Fair Credit Reporting Act—is completely unrelated to the subject of the instant

whistleblower retaliation lawsuit and because the lawsuit did not result in a final judgment. See

Harrell, 951 F.2d at 1465 (“In this case the previous judgment was not final. Thus, it was entitled

to even less probative value.”). Finally, because the case settled, there was no judgment or finding

of liability and therefore no proof that Maxim in fact violated the Fair Credit Reporting Act.

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        The Moodie settlement also is excludable because it is irrelevant. It does not involve ICE

Dilley, the managers and supervisors involved in the instant case, or allegations of whistleblower

retaliation (or any retaliation at all). Moreover, the class period in Moodie is May 5, 2009 through

August 27, 2012—years before Wondercheck even worked for Maxim. The settlement agreement

holds no precedential value and is in no way analogous to this case. The sole question before the

jury in this case is whether Wondercheck was the subject of whistleblower retaliation. Lawsuits

filed by other individuals in different locations, with different supervisors, and pursuant to different

legal theories are completely irrelevant. See, e.g., Carley v. Crest Pumping Techs., L.L.C.,

No. MO:15-CV-00161-DC, 2016 WL 8849697, at *1 (W.D. Tex. Aug. 21, 2016) (granting motion

in limine and excluding evidence related to other lawsuits that did not involve the same type of

claim and that were not brought by similarly situated employees); Mindrup v. Goodman Networks,

Inc., Civ. Action No. 4:14-CV-00157, 2015 WL 11089474, at *1 (E.D. Tex. Oct. 19, 2015)

(excluding as irrelevant and prejudicial “[e]vidence regarding alleged . . . unlawful employment

practices other than those allegedly experienced by Plaintiff”).

        Even if the Moodie settlement agreement had any probative value (it does not), that value

would be substantially outweighed by the risk of unfair prejudice to Maxim. Non-final judgments,

such as settlements, are “entitled to even less probative value” in the Fifth Circuit. See Harrell,

915 F.2d at 1465 (5th Cir. 1992). By contrast, the risk of unfair prejudice is great. The Moodie

settlement will only tend to distract the jury, who might assign undue weight to the fact that Maxim

settled a case. For these reasons, evidence related to the Moodie settlement should be excluded.




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III.   Documents and Testimony Related to Maxim’s 2011 Settlement with the Department
       of Justice Are Inadmissible, Irrelevant, and Unduly Prejudicial and Are Thus
       Inadmissible.

       Similarly, documents and testimony related to Maxim’s 2011 settlement with the

U.S. Department of Justice should be excluded because they are inadmissible, irrelevant, and more

prejudicial than probative. Like the Moodie settlement, evidence related to this settlement is

inadmissible prior acts evidence because it is irrelevant to any issue other than Maxim’s character

and is highly prejudicial but has little probative value.

       Further, documents related to the settlement are irrelevant. The Deferred Prosecution

Agreement and Corporate Integrity Agreement were entered into in September 2011—almost four

years before Wondercheck started working at ICE Dilley, approximately four years before Maxim

and U.S. Immigration and Customs Enforcement (“ICE”) executed the ICE Dilley contract at

issue, and several months before Maxim hired Thomas Gillespie, the longest-tenured manager

involved in the events at issue in Wondercheck’s lawsuit. Moreover, the alleged fraudulent

practices covered by Maxim’s agreements with the Government ended in 2009 and thus are even

further removed from the events at issue in this case. The allegations in 2011 related to government

health care programs, not fraudulent activity in Maxim-staffed pharmacies. And there is no

evidence that any retaliation allegations were made in connection with the events in 2011. Simply

put, documents and testimony related to Maxim’s 2011 settlement with the Department of Justice

have no relationship to and no bearing on Wondercheck’s individual claim for whistleblower

retaliation at ICE Dilley in 2016.

       The minimal probative value of evidence about the 2011 settlement is substantially

outweighed by the likelihood that such evidence would confuse the jury and waste time. FED. R.

EVID. 403. Admitting such evidence would only run the risk that the jury might unduly focus on


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the information to infer culpability where none exists. For all of these reasons, evidence related

to the 2011 settlement should be excluded.

                                        CONCLUSION

       For the foregoing reasons, the Court should grant Maxim’s Motion and exclude documents

or testimony regarding allegations of wrongdoing unrelated to Wondercheck’s employment at ICE

Dilley, fraud report, or termination.


Dated: November 6, 2020                             Respectfully submitted,

                                                    /s/ Lindsay A. Hedrick
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                              CERTIFICATE OF CONFERENCE

       Counsel for Maxim has complied with the Court’s meet and confer requirement under

Local Court Rule CV-7(i). On November 5, 2020, Maxim’s counsel conferred via telephone with

Wondercheck’s counsel regarding Maxim’s intention to move for the exclusion of evidence of

unrelated allegations of wrongdoing at ICE Dilley and/or by Maxim.                  That same day,

Wondercheck’s counsel indicated that he was currently opposed to such a motion; however, the

parties intend to continue conferring about the issues raised in the motion prior to the Final Pretrial

Conference.

                                                       /s/ Lindsay A. Hedrick
                                                       Lindsay A. Hedrick
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                                 CERTIFICATE OF SERVICE

       I hereby certify that on November 6, 2020, I electronically filed the foregoing with the Clerk

of the Court by using the CM/ECF system, which will send electronic notice to all counsel of record.

                                                     /s/ Lindsay A. Hedrick
                                                     Lindsay A. Hedrick
